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FH.ED ,l ,

IN THE UNITED STATES DISTRICT COURT
FOR 'I'HE WESTER.N DISTRICT OF TENNESSEE
WESTERN DIVISION

 

CLEMMIE SALES ,

 

Plaintiff,

vs. NO. 03-294EBV
FAYETTE COUNTY, SHERIFF BILL
KELLEY, ZACK VIERHELLER, HOLTON
COHEA,and MIKE WILHITE,

v\_rv\\_»'~..a'~_¢\_rv`.z\_/v

Defendants.

 

ORDER DEN'YING DEFENDANTS' MOTION 'I'O STRIKE DEPOSITION, TESTIMON'Y,
AN'D STATEMENTS OF THOM.AS MINOR AND OTHER MISCHARACTERIZED
STATEMENTS BY PLAINTIFF

 

The plaintiff, Clemmie Sales, filed a civil rights action on
on December 16, 2003, against Fayette County, Tennessee, Bill
Kelleyl the sheriff of Fayette County, and three deputy sheriffs of
Fayette County, Zack Vierheller, Holton Cohea, and Mike Wilhite,
pursuant to 42 U.S.C. 1983, alleging violations of her Fourth,
Fifth, Eighth and Fourteenth Amendment rights based on her arrest
on criminal charges of chid abuse and. neglect, obstructing a
criminal investigation and criminal responsibility for conduct of
another. These charges arose out of an altercation between two
students on a Fayette County school bus being driven by Sales. The
criminal charges against Sales were ultimately dismissed. Sales

also alleged state common law claims of false arrest and

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with Hu1e 58 and/or 79(3) FHCP on g 2f1 f"O§

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imprisonment, defamation, and intentional infliction of emotional
distress.

On February 24, 2005, the defendants filed a rm:tion for
summary judgment. Sales filed a response and memorandum in
opposition to the motion for summary judgment on March 28, 2005,
which included the plaintiff's statement of undisputed factual
allegations.

Now before the court is the motion of the defendants filed
April 11, 2005, pursuant to Rule 26(a)(2) and Rule 56 of the
Federal Rules of Civil Procedure, to strike the deposition
testimony, statements and other declarations of Thomas Minor and
any contentions supported by the testimony of Minor, specifically
paragraphs 32 - 52 of the plaintiff’s undisputed factual
allegations, because Minor has not been designated as an expert
witness. In addition, the defendants seek to strike paragraphs 2,
56, and 59 of the plaintiff's undisputed factual allegations on the
ground that these three factual allegations constitute
mischaracterizations of the deposition testimony of defendant
Vierheller and the plaintiff. This motion was referred by U.S.
District Judge J. Daniel Breen to the United States Magistrate
Judge for determination. For the reasons that follow, the motion

is denied.

Defendants’ motion to strike identifies Rule 56(e) as its

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procedural basis. Rule 56(e) delineates the requirements for
affidavits and depositions submitted in support of or in opposition
to summary judgment, but it does not contain any provision for
striking affidavits or depositions that do not comply with these
requirements. The only provision within the Federal Rules which
provides for striking an item is Rule 12(f). That rule, however,
only authorizes the court to “order stricken from any pleading any
insufficient defense or any redundant, immaterial, impertinent, or
scandalous matter.” FmL R. CUL P. 12(f). Affidavits accompanying
memoranda in support of motions for summary judgment, attachments
to affidavits or responses to motions, or the memoranda themselves
for that matter, are not among the documents identified as
“pleadings” by the Federal Rules. FED. R. CIv. P. 7(a).

This court has held on several occasions that a nmtion to
strike is not the proper procedural device for countering responses
to motions for summary judgment or exhibits or affidavits attached
to memoranda in support of motions. See, e.g., Carver v. Lydall,
No. 98-2252-DV, (W.D. Tenn. July 6, 1999) (Order on Def.'s Mot. to
Strike or in the Alternative to Disregard Affs). See also SA Wright
and Miller, Federal Practice and Procedure: Civil 2d § 1380 (West
1990); see also Dawson v. City of Kent, 682 F.Supp. 920, 922 (N.D.
Ohio 1988) (finding motion to strike relates only to pleadings and

is inapplicable to other filings); Newsome v. Webster, 843 F.Supp.

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1460, 1464-1465 (S.D. Ga. 1994) (finding motion to strike is not
appropriate to challenge an opposing affidavit to summary
judgment).

Guided by these observations, the court is persuaded that a
motion to strike is generally not appropriate, nor necessary, as a
vehicle for objections by a nmvant for summary judgment to an
opposing memorandum. It is enough for the movant to make its
objection known in a reply nwmorandum, or in open court if a
hearing is held. Newsome v. Webster, 843 F. Supp. 1460, 1464-1465
(S.D. Ga. 1994). “The court will then implicitly, if not
explicitly, rule upon these objections in consideration of the
motion.” Id. at 1464. Thus, the defendants' motion to strike
material in the plaintiff's responsive memorandum to the
defendants' motion for summary judgment is denied.

The defendants also cite Rule 26(a)(2) as the procedural basis
for their motion to strike the twenty-one factual allegations in
paragraphs 32 - 52 of the plaintiff's undisputed factual
allegations, all which. rely' on the testimony' of Minor. Rule
26(a)(2)(A) requires a. party to disclose the identity of any
witness who will give an opinion under Rule 702 of the Federal
Rules of Evidence. According to Rule 25(a)(2)(B), the disclosure
of the identity of an expert witness who is retained or specially

employed to provide expert testimony in the case must be

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accompanied by a written report prepared and signed by the witness.

The report must contain

a complete statement of all opinions to be expressed and

the basis and reasons therefore; the data or other

information considered by the witness in forming the

opinions; any exhibits to be used as a summary of or

support for the opinions; the qualifications of the

witness, including a list of all publications authored by

the witness within the preceding ten years; the

compensation to be paid for the study and testimony; and

a listing of any other cases in which the witness has

testified as an expert at trial or by deposition within

the preceding four years.
FED. R. CIv. P. 26(a)(2)(B). The disclosures are to be made in
writing, signed, served, and filed with the court. FED. R. CIv. P.
26(a)(4). The requirement of a written report, however, only
applies to those experts who are “retained or specially employed to
provide expert testimony in the case." FED. R. CIV. P. 26(a)(2)(B).
For example, “[a] treating physician . . . can be deposed or called
to testify at trial without any requirement for a written report.”
Id. Advisory Committee Notes 1993 Amendments. A party who fails to
make the required disclosures “is not, unless such failure is
harmless, permitted to use as evidence . . . on a nmtion any
witness or information not so disclosed.” FmL R. CUL P. 37(c)(1).

It is undisputed that Minor is a licensed and practicing
attorney and represented Sales during the criminal proceedings

against Sales which gave rise to this § 1983 lawsuit. It is also

undisputed that Minor was not retained by Sales as an expert in

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this § 1983 case nor identified by Sales as an expert employed to
provide expert testimony in this case. It is also undisputed that
Minor was disclosed as a fact witness and that his deposition was
taken by the defendants on January 7, 2005. The defendants insist
that the plaintiff has improperly used.Minor's deposition testimony
to provide expert opinions as to the defendants' handling of the
criminal investigation of Sales and the elements necessary to
establish probable cause for an arrest without first complying with
the disclosure requirements of Rule 26(a)(2). Consequently, the
defendants argue that Minor’s testimony in its entirety, not just
opinion testimony, should be stricken. The defendants cite no case
law in support of their position.

As attorney for Sales during the criminal proceedings, Minor
is a fact witness. As a fact witness, there is no requirement for
Sales to disclose Minor's identity under Rule 26(b)(2). Therefore,
the defendants' motion to strike the testimony of Minor in its
entirety is denied, and to the extent the defendants seek to strike
factual allegations not involving any opinion testimony by Minor,
the motion is denied.

As to Minor's opinion testimony, although Minor was not
specifically identified as an expert witness, he was deposed by the
defendants, the defendants questioned.Minor extensively, and he was

asked his expert opinions during the deposition. Thus, the failure

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of Sales to identify Minor as an expert witness was harmless. In
addition, because Minor was not retained by Sales for the purpose
of giving an expert opinion, Sales was not required to provide the
defendants with the expert information required by Rule
26(a)(2)(B). Thus, the defendants' motion to exclude Minor's
deposition testimony on the basis of Sales' failure to identify
Minor as an expert pursuant to Rule 26(a)(2) is denied.

The defendants also argue that Minor is not properly qualified
to render an expert opinion as to the elements of a crime, the
sufficiency of an affidavit in support of a criminal complaint, the
conduct of a law enforcement official in conducting an
investigation, and the existence of probable cause because he is
not a law enforcement official. In essence, the defendants are
making a motion in limine to exclude expert testimony pursuant to
Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 592»93
(1993) but they fail to cite Daubert or any of its progeny or to
analyze the Daubert factors or cite any cases supporting their
position that an attorney cannot give an expert opinion on these
issues. Accordingly, the defendants have failed to satisfy the
court that Minor is not competent to render an expert opinion on

these issues, and their Daubert motion is denied at this time

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without prejudice.1

Alternatively, defendants argue that two factual allegations,
paragraphs 46 and 47, are inadmissible hearsay and not based on
personal knowledge and should therefore be disregarded by the
court. Specifically, paragraph 46 states “The district attorney
was inclined early on to dismiss these complaints. Minor Depo.
p.27.“ (Defs.' Mem. in Supp. of Defs.’ Mot. to Strike at 6-7.)
Paragraph 47 states “The district attorney probably interviewed all
the witnesses that day and dismissed the charges in thirty minutes
to one hour. Minor Depo. p. 27.” (Id. at 7.) Rule 56(e) provides
that “[s]upporting and opposing affidavits shall be made on
personal knowledge, shall set forth such facts as would be
admissible in evidence, and shall show affirmatively that the
affiant is competent to testify to the matters stated therein.”
FmL R. Cnh P. 56(e). It appears to this court that the statements
of Minor are based on personal knowledge so as to satisfy the

requirements of Rule 56(e). These two statements amount to Minor's

 

1 Sales argues that lay witnesses may testify in the form of

opinions or inferences if it is (a) rationally based on the
witness’ perception, (b) helpful to a clear understanding of the
witness’ testimony or the determination of a fact in issue and (c)
is not based on scientific, technical or other specialized
knowledge with the scope of 702. Fed. R. Evidence 701. The court
makes no determination at this time whether Minor's opinion as to
the lack of probable cause is within the realm of lay opinion
testimony.

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perceptions of the actions of the district attorney, and Minor's
deposition testimony sets forth the facts upon which his
perceptions are based.

Finally, the defendants argue that the plaintiff's undisputed
factual allegations in paragraphs 56, 59, and 2 are based on
mischaracterizations of the deposition testimony of Vierheller and
Sales. That may be so, but conflicts in deposition testimony and
the interpretation of deposition testimony on a motion for summary
judgment is a matter for the court to weigh in determining whether
there is a genuine issue of material fact which precludes summary
judgment. It is not grounds for a motion to strike. Accordingly,
the defendants' motion to strike Paragraphs 56, 59 and 2 of the
plaintiff's undisputed factual allegations is denied.

Having determined that the defendants' motion to strike should
be denied, this court will nevertheless defer the ultimate question
of whether to disregard in whole or part Minor's testimony and
contentions based on his testimony to allow the district court to
reach its own conclusion during its deliberations regarding
defendants' motion for summary judgment. Defendants’ objections to
Minor’s testimony and the twenty-five factual allegations would
more properly have been addressed by filing a reply to the
plaintiff's response to the motion for summary judgment. In any
event, the defendants' concerns regarding these factual allegations

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are now a part of the record and will certainly be considered by
the district court in determining whether the defendants have
proven that they are entitled to summary judgment. The factual
allegations and supporting deposition testimony of Minor will be
given what weight the district judge deems proper.

IT IS SO ORDERED this 10th day Of May, 2005.

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DI.A.NE K. VESCOVO
U'NITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 56 in
case 2:03-CV-02946 Was distributed by faX, mail, or direct printing on
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ESSEE

 

Randall Blake Tolley

LAW OFFICE OF RANDALL B. TOLLEY

242 Poplar Ave.
Memphis7 TN 38103

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Honorable J. Breen
US DISTRICT COURT

